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         Kalamazoo Public School Guidance for Child Study Process

 Guiding Principles for Support
        We recognize that all children have unique strengths & challenges
        Understanding the student is fundamental as we work together to improve, instruction,
        curriculum, and classroom environment and culture
        The child, parent, and classroom teacher stay at the center as we add layers of support
        As we add additional layers of support, we intensify the interventions, increase the
        regularity of data collection and add more formal systems of documentation &
        communication
        Determining eligibility for special education services does NOT improve outcomes




 Purpose for Child Study
        To come together to find ways to provide opportunities for children (what ways can we
        change things for the student to help them access learning?)
        Empowering children by helping them understand themselves as learners
        Child Study is not a SPED referral process SPED referral is one possible outcome of the
        Child Study Team Process

 Role of Teacher Teams
 In the layers of support, there is a layer of Teacher Teams between the Child, Parent & Teacher
 and the Child Study Team. This layer of may look different depending on the supports in each
 school grade level teams, department teams, cross-disciplinary teams, student support
 meetings. As we move to the next layer in the Child Study Process, the process should be more
 consistent across schools.
         Teachers and teacher teams can keep documentation in Google classroom to document
         instructional interventions and student progress
         This information will help guide the process if the student moves to the formal Child
         Study Team Process

 Child Study Team Process
 If the teacher and team continue to have concerns about a student, it may be time to increase
 the formal structure of interventions, support, data monitoring, documentation and
 communication.



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 Key Elements of Child Study Process

    1. Key elements of the Child Study Process
          1. Formal Parent Contact (not consent)
          2. Identifying Areas of Concern
          3. Observation
          4. Action Plan Interventions Related to Area of Concern and Data Gathering
          5. Summary reviewing steps 1-4 and making a team decision:

    o   continue with instructional interventions
    o   add new instructional interventions
    o   add language supports for language learners or phase out supports
    o   504/SPED evaluation

 Remember:

        Child Study is not a SPED referral process SPED referral is one possible outcome of
        Child Study
        The Child Study Process has a clear beginning and ending for each student Take notes of
        each
        Child Study meeting in the Meeting Notes section of the Child Study Google document

                                                     Child Study Information on the District website
                                                     Child Find Information
                                                     Layers of Support Narrative (explains the guiding
                                                     principles for how we think about the layers of
                                                     support that include the Child Study Process)
                                                             Child Study Flowchart
                                                             Procedural Guidance for Child Study
                                                             Process document


 Starting the Child Study Process

 The school psychologist, behavior specialist, opens the Child Study Document may assign others
 as participants, e.g. Principal, Case Manager, Assistant Principal

 When possible, it is better to enter information directly into Google forms so they will auto-
 populate into the Child Study Summary form. Meeting Notes and other attachments do not
 auto-populate into Child Study Summary form.

 General and special education teachers should work together to collect data and report it in the
 Present Levels of the IEP.




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 Documentation of Parent Contact

       Parent contact is important before starting the Child Study process. This is not a formal
       consent process. The parents do not need to sign anything to give the school permission
       to explore classroom-level interventions for their child.
       Include method of contact, person who made the contact, date of contact, and input
       from parents can have multiple contacts with the parent listed in the Child Study
       Google document in
       Parent Input is valuable in the Child Study process. Record this in the documentation in
       the Google document. There is no requirement that a parent be part of the Child Study
       team. However, the school team may decide that they want parents to be a part of the
       Child Study team in addition to providing input.

 Educator Inputs

       Who can enter Educator Inputs? Classroom Teachers, Specials Teachers, SLP,
       Occupational Therapist, Physical Therapist, Behavior Specialist, Counselor, etc. anyone
       who knows the student and has information to share
       Strengths We always want to include strengths as we think about the whole child
       Areas of Inquiry only fill in the boxes in the areas that we have actual concerns (what
       brought this child t
       concerns that have not yet emerged.
           o Quantitative and Qualitative information whatever we have noticed that has
              raised a concern
       Educator Inputs form may be filled out before or during the Child Study Team meeting

 Student Observation Form

       Child Study Team member observes the student so there is another set of eyes to help
       gather information
       Observation should occur during the time when the student is engaged in the area of
       inquiry
           o Consider the relevance of the context of the observation
       We do not need parent permission for the observation as long as there has been a
       parent contact made bout the child being in the child study process




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 Child Study Action Plan

        Child Study Team selects 1 or 2 relevant areas of inquiry in which to collect information
        over time, and strategies used to intervene
        Child Study Team considers these important questions and completes the corresponding
        boxes:
            o What specific skill does the student need to learn?
            o What is the baseline data related to the specific skill?
            o What high leverage strategy will be used to help the student learn the skill?
            o Who will be responsible for implementing the strategy?
            o When will the strategy be implemented?
            o Where will the strategy be implemented?
            o How often will the strategy be implemented?
            o When will the implementation start?
            o What is the expected rate of growth and how will we know if the student has
                made growth?
            o What data collection tool will be used to measure growth on the specific skill?

   The strategy is implemented for a period of time (3 weeks? 6 weeks? 8 weeks?) The duration
 of implementation depends on the situation the Child Study Team can decide this


 same entry on the Action Plan and input:

    o The date of the follow-up meeting
    o
    o
    o What are the possible next steps?
         If the team wants to continue with interventions for this Area of Inquiry, click the
         blue button to Add Another Round of Intervention/Support
         If the team wants to pursue an intervention in another Area of Inquiry, add that
         information to the Action Plan
         If the team has enough data to complete the Child Study Process, open the Child
         Study Summary Form

 Child Study Summary Form

        All fields will be auto filled with information from the last two years
        You can also add more information or edit existing information
        If the student has been in our district for over one year, all attendance and information
        from eSchool will populate the form, however, the summary of disciplinary actions does
        not
        Child Study Team reviews data in the Summary form and makes a decision
             o Factors indicate student has responded well to effective instruction


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                   Current level of support will be continued
                   Current level of support will be faded out
           o   Factors indicate attendance concerns
           o   Factors indicate concerns are due to language or cultural concerns of Factors
               indicate an evaluation for 504/SPED
           o   Factors indicate referral for substance abuse report
           o   Factors indicate none of the above

 What if the parent brings in a previous evaluation and/or requests a Special Education
 evaluation?
        Parent input is recorded in the Child Study Documentation of Parent Contact box
        including a brief summary of information from the outside evaluation
        School-related data is summarized in the Educator Inputs box
        Child Study Team meets with parent and makes a decision (one of 3 options):
            1. When team shares school data, parent no longer has a concern and withdraws
                request for evaluation
            2. Team decides to gather more information through Child Study process begin
                cycle of interventions/data collection/progress monitoring/review
            3. T                                                                e to SPED
                evaluation process
        Documentation of the decision is completed on the Child Study Summary Form
        Be sure to take clear meeting minutes in the Meeting Notes section of the Child Study
        Google document




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